  Case 3:17-cr-00213-MIN THE
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                             UNITED39STATES
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                                              08/29/17 COURT,...-------·-·-··-·
                                                         Page 1 of 1 PageID     .. 57
                              FOR THE NORTHERN DISTRICT OF TEXAS I                         U.S LdS;! \ ' (    I\;

                                        DALLAS DIVISION                                NORIHERN D!~. i RICT OF JL\1~~
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                                                                                   17-CR-Zl-~2--~-1
UNITED STATES OF AMERICA                               )
                                                       )
VS.                                                    )          CASENO.: 3
                                                       )
JERRELL OWENS (2)                                      )                                 CLERK, U.S. :
                                                                                          By--~~-+"----
                                 REPORT AND RECOMMENDATION
                                  CONCERNING PLEA OF GUILTY

         JERRELL OWENS, by consent, under authority of United States v. Dees, 125 F.3d 261 (5 1h Cir.
1997), has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count(s) 1
of the Indictment. After cautioning and examining JERRELL OWENS, under oath concerning each of the
subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary and that the
offense(s) charged are supported by an independent basis in fact containing each of the essential elements of
such offense (s). I therefore recommend that the plea of guilty be accepted, and that JERRELL OWENS, be
adjudged guilty of Theft of United States Mail, a violation of 18 U.S.C. § 1708 and 2 and have sentence
imposed7c rdingly. After being found guilty ofthe offense(s) by the district judge,

                The defendant is currently in custody and should be ordered to remain in custody.

        0       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court
                finds by clear and convincing evidence that the defendant is not likely to flee or pose a danger
                to any other person or the community if released.

                0       The Government does not oppose release.
                0       The defendant has been compliant with the current conditions of release.
                0       I find by clear and convincing evidence that the defendant is not likely to flee or pose
                        a danger to any other person or the community if released and should therefore be
                        released under § 3142(b) or (c).

                0       The Government opposes release.
                0       The defendant has not been compliant with the conditions of release.
                0       If the Court accepts this recommendation, this matter should be set for hearing upon
                        motion of the Government.

        0       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (l)(a) the
                Court finds there is a substantial likelihood that a motion for acquittal or new trial will be
                granted, or (b) the Government has recommended that no sentence of imprisonment be
                imposed, or (c) exceptional circumstances are clearly shown under§ 3145(c) why the defendant
                should not be detained, and (2) the Court finds by clear and convincing evidence that the
                defendant is not likely to flee or pose a danger to  other person or the co    nity if released.


Date:   August29,2017.




                                                  NOTICE

         Failure to file written objections to this Report and Recommendation within fourteen (14) days from
the date of its service shall bar an aggrieved party from attacking such Report and Recommendation before the
assigned United States District Judge. 28 U.S.C. §636(b)(l)(B).
